                                            Case 3:21-cv-03893-JCS Document 24 Filed 10/20/21 Page 1 of 1




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                                   4                                   UNITED STATES DISTRICT COURT

                                   5                                  NORTHERN DISTRICT OF CALIFORNIA

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                                   7       ANTHONY ALEXANDER JAMES,                        Case No. 21-cv-03893-JCS
                                                         Plaintiff,
                                   8
                                                                                           ORDER DISMISSING CASE WITH
                                                    v.                                     PREJUDICE
                                   9

                                  10       UNITED FURNITURE WORKERS
                                           LOCAL 89262,
                                  11                     Defendant.
                                  12
Northern District of California
 United States District Court




                                  13          After the Court dismissed Plaintiff Anthony James’s original complaint with leave to

                                  14   amend and James failed to file an amended complaint within the time permitted to do so, the Court

                                  15   ordered James to show cause no later than October 15, 2021 why the case should not be dismissed

                                  16   with prejudice. Order to Show Cause (dkt. 23). That deadline has passed, and James has not filed

                                  17   an amended complaint or any other response. Accordingly, the case is hereby DISMISSED with

                                  18   prejudice.

                                  19          The Clerk shall enter judgment in favor of Defendant United Furniture Workers Local

                                  20   89262 and close the file.1

                                  21          IT IS SO ORDERED.

                                  22   Dated: October 20, 2021

                                  23                                                   ______________________________________
                                                                                       JOSEPH C. SPERO
                                  24                                                   Chief Magistrate Judge
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                                  28    The parties consented to the jurisdiction of a magistrate judge for all purposes under 28 U.S.C.
                                       § 636(c).
